USCA Case #25-1064          Document #2101102            Filed: 02/18/2025   Page 1 of 2


                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 25-1064                                                September Term, 2024
                                                                   FERC-ER24-2338-002
                                                                   FERC-ER24-2338-000
                                                                   FERC-ER24-2338-001
                                                                    FERC-EL24-119-000
                                                                    FERC-EL24-119-001
                                                                   FERC-ER24-2336-001
                                                                   FERC-ER24-2336-000
                                                                   FERC-ER24-2336-002
                                                  Filed On: February 18, 2025 [2101102]
PJM Transmission Owners, et al.

              Petitioners

      v.

Federal Energy Regulatory Commission,

              Respondent

                                        ORDER

      The petition for review in this case was filed and docketed on February 14, 2025,
and assigned the above number. It is, on the court's own motion,

       ORDERED that petitioner submit the documents listed below by the dates
indicated.

       Certificate as to Parties, Rulings, and
                                                                   March 20, 2025
       Related Cases
       Docketing Statement Form                                    March 20, 2025
       Procedural Motions, if any                                  March 20, 2025
       Statement of Intent to Utilize Deferred
                                                                   March 20, 2025
       Joint Appendix
       Statement of Issues to be Raised                            March 20, 2025
       Underlying Decision from Which Appeal
                                                                   March 20, 2025
       or Petition Arises
       Dispositive Motions, if any                                   April 4, 2025
USCA Case #25-1064         Document #2101102             Filed: 02/18/2025      Page 2 of 2


                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________

No. 25-1064                                                September Term, 2024

It is

       FURTHER ORDERED that respondent submit the documents listed below by the
dates indicated.

        Entry of Appearance Form (Attorneys
                                                                    March 20, 2025
        Only)
        Procedural Motions, if any                                  March 20, 2025
        Certified Index to the Record                                  April 4, 2025
        Dispositive Motions, if any                                    April 4, 2025

It is

       FURTHER ORDERED that briefing in this case be deferred pending further order
of the court.

       The Clerk is directed to transmit to respondent a copy of this order and a copy of
the petition for review.

                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Elbert B.J. Lestrade
                                                         Deputy Clerk

The following forms and notices are available on the Court's website:

        Agency Docketing Statement Form
        Entry of Appearance Form
        Request to Enter Appellate Mediation Program (Optional)
        Notice Concerning Expedition of Appeals and Petitions for Review
        Stipulation to be Placed in Stand-By Pool of Cases (Optional)




                                          Page 2
